             Case 3:19-md-02885-MCR-HTC Document 3077-1 Filed 05/06/22 Page 1 of 5
IN RE: 3M COMBAT ARMS EARPLUG PRODUCTS LIABILITY LITIGATION
EXHIBIT A




   Row         PID                            Name                                               Firm             Admin Docket Case Number   Active Docket Case Number
    1         148194   Charles Goebel                         Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    8:20-cv-42041-MCR-GRJ
    2         275109   Celso Ramirez                          Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz                               9:20-cv-17699-MCR-GRJ
    3         253624   Lorraine Holmes                        Alexander Law Group, PLC                             8:20-cv-95919-MCR-GRJ
    4         253641   Jim Killian                            Alexander Law Group, PLC                                                        8:20-cv-95937-MCR-GRJ
    5         253696   Hoa Nguyen                             Alexander Law Group, PLC                             8:20-cv-95992-MCR-GRJ
    6         253716   Harold Petri                           Alexander Law Group, PLC                                                        8:20-cv-96012-MCR-GRJ
    7         268259   Gabriel Pimentel                       Alexander Law Group, PLC                                                        9:20-cv-10492-MCR-GRJ
    8         305622   Robert Fischer                         Alexander Law Group, PLC                             7:21-cv-24691-MCR-GRJ
    9         305644   Anthony Hannah                         Alexander Law Group, PLC                             7:21-cv-24713-MCR-GRJ
    10        305806   Gerald Seegebarth                      Alexander Law Group, PLC                             7:21-cv-24874-MCR-GRJ
    11        305851   Xiao Xia                               Alexander Law Group, PLC                                                        7:21-cv-24919-MCR-GRJ
    12        318550   Johnathon Booth                        Alexander Law Group, PLC                                                        7:21-cv-42490-MCR-GRJ
    13        318637   Padith Shonrasin                       Alexander Law Group, PLC                             7:21-cv-42577-MCR-GRJ
    14        116988   Shadrach Aho                           Baron & Budd                                                                    7:20-cv-86640-MCR-GRJ
    15        117630   Travis Joyner                          Baron & Budd                                                                    7:20-cv-97680-MCR-GRJ
    16        67709    Jacob Schwartz                         Bernstein Liebhard LLP                                                          8:20-cv-14241-MCR-GRJ
    17        67800    Mickey Scroggins                       Bernstein Liebhard LLP                               8:20-cv-14687-MCR-GRJ
    18        67922    Edward Horne                           Bernstein Liebhard LLP                               8:20-cv-15530-MCR-GRJ
    19        102062   Julian Martin                          Bertram & Graf, L.L.C.                                                          7:20-cv-46166-MCR-GRJ
    20        102236   Sean Vanlandingham                     Bertram & Graf, L.L.C.                               7:20-cv-46656-MCR-GRJ
    21        102243   Justin Wade                            Bertram & Graf, L.L.C.                               7:20-cv-46661-MCR-GRJ
    22        253872   Jose Gonzalez-Bula                     Bertram & Graf, L.L.C.                                                          8:20-cv-87498-MCR-GRJ
    23        253929   Roosevelt Riggins                      Bertram & Graf, L.L.C.                                                          8:20-cv-87689-MCR-GRJ
    24        50005    Charles Stauffer                       Bighorn Law                                                                     7:20-cv-05032-MCR-GRJ
    25        68083    Ariel Martinez                         Brent Coon & Associates                              8:20-cv-28958-MCR-GRJ
    26        68660    Matthew Clawson                        Brent Coon & Associates                              7:20-cv-71867-MCR-GRJ
    27        161478   Anthony Olivas                         Brent Coon & Associates                              7:20-cv-88416-MCR-GRJ
    28        186472   Daniel Moore                           Brent Coon & Associates                              8:20-cv-28307-MCR-GRJ
    29        286671   Jeremiah Vogl                          Brent Coon & Associates                                                         7:21-cv-08596-MCR-GRJ
    30        293311   Brent Frisell                          Brent Coon & Associates                              7:21-cv-12959-MCR-GRJ
    31        293323   Steven Johnson                         Brent Coon & Associates                                                         7:21-cv-12971-MCR-GRJ
    32        333086   Sayre Guthrie                          Brent Coon & Associates                                                         7:21-cv-51506-MCR-GRJ
    33        135879   Rodney Alexander                       Burnett Law Firm                                                                7:20-cv-41887-MCR-GRJ
    34        135894   Nathan England                         Burnett Law Firm                                                                7:20-cv-41900-MCR-GRJ
    35        135911   Larry Kaio                             Burnett Law Firm                                                                7:20-cv-41915-MCR-GRJ
    36        222229   Brian Genarelli                        Carey Danis & Lowe                                   8:20-cv-71986-MCR-GRJ
    37        267906   Edgar Alvarado                         Carey Danis & Lowe                                                              9:20-cv-08596-MCR-GRJ
    38        267937   Glendon Rawlins                        Carey Danis & Lowe                                                              9:20-cv-08657-MCR-GRJ
    39        280398   Blaine Wendel                          Carey Danis & Lowe                                   7:21-cv-00133-MCR-GRJ
    40        307135   James Brinkman                         Carey Danis & Lowe                                   7:21-cv-26295-MCR-GRJ
    41        106698   Jeremy Suber                           Chaffin Luhana LLP                                                              8:20-cv-30364-MCR-GRJ
    42        174657   Clifton Neave                          Charles E. Boyk Law Offices, LLC                     7:20-cv-80492-MCR-GRJ
    43        234318   Carl Woods                             Colson Hicks Eidson                                  8:20-cv-68325-MCR-GRJ
    44        332099   Christopher Sanders                    Colson Hicks Eidson                                                             7:21-cv-48438-MCR-GRJ
    45        221794   Shaun Collette                         Cory Watson                                          8:20-cv-70447-MCR-GRJ
    46        221871   James Reed                             Cory Watson                                          8:20-cv-71636-MCR-GRJ
    47        221887   Joshua Mccool                          Cory Watson                                          8:20-cv-71652-MCR-GRJ
    48        221899   Trenten Baker                          Cory Watson                                          8:20-cv-71664-MCR-GRJ
    49        221915   Robert Smith                           Cory Watson                                          8:20-cv-71680-MCR-GRJ
    50        221920   Brian Smith                            Cory Watson                                          8:20-cv-71685-MCR-GRJ
    51        233350   Joshua Murray                          Cory Watson                                          8:20-cv-79878-MCR-GRJ
    52        233407   Joel Stephens                          Cory Watson                                          8:20-cv-80372-MCR-GRJ
    53        233434   Gabriel Hayes                          Cory Watson                                          8:20-cv-80426-MCR-GRJ
    54        233465   Theodosia Brown                        Cory Watson                                          8:20-cv-80523-MCR-GRJ
    55        233505   Timothy Holder                         Cory Watson                                          8:20-cv-80603-MCR-GRJ
    56        233838   Miguel Taveras                         Cory Watson                                          8:20-cv-81743-MCR-GRJ
    57        233867   Eric Garber                            Cory Watson                                          8:20-cv-81802-MCR-GRJ
    58        233878   Jonathan Ostrander                     Cory Watson                                          8:20-cv-81824-MCR-GRJ
    59        233922   Marcos Gonzales                        Cory Watson                                          8:20-cv-81912-MCR-GRJ
    60        240713   Jeremy Heinlein                        Cory Watson                                          8:20-cv-86585-MCR-GRJ
    61        240734   Joshua Sousa                           Cory Watson                                          8:20-cv-86630-MCR-GRJ
    62        240755   Edward Walker                          Cory Watson                                          8:20-cv-86677-MCR-GRJ
    63        240783   Roddeun Pumphrey                       Cory Watson                                          8:20-cv-86722-MCR-GRJ
    64        241148   Mark Goodman                           Cory Watson                                          8:20-cv-87720-MCR-GRJ
    65        241183   Randall Franklin                       Cory Watson                                          8:20-cv-87992-MCR-GRJ
    66        241184   Frank Canino                           Cory Watson                                          8:20-cv-87993-MCR-GRJ
    67        241210   Aaron Matthers                         Cory Watson                                          8:20-cv-88017-MCR-GRJ
    68        241362   Matthew Seville                        Cory Watson                                          8:20-cv-88137-MCR-GRJ
    69        241372   Alex Rios                              Cory Watson                                          8:20-cv-88147-MCR-GRJ
    70        241383   John Wallace                           Cory Watson                                          8:20-cv-88158-MCR-GRJ
    71        241419   Isaac Guiza                            Cory Watson                                          8:20-cv-88194-MCR-GRJ
    72        241424   Matthew Shults                         Cory Watson                                          8:20-cv-88198-MCR-GRJ
    73        241439   Dane Lopez                             Cory Watson                                          8:20-cv-88212-MCR-GRJ
    74        69291    Jordan Petersen                        Coxwell & Associates PLLC.; 'Maggio Thompson LLP     7:20-cv-82302-MCR-GRJ
    75        357500   Kavondra Mccauley                      D. Miller & Associates, PLLC                                                    3:22-cv-02871-MCR-GRJ
    76        357504   Jeffrey Jones                          D. Miller & Associates, PLLC                                                    3:22-cv-03309-MCR-GRJ
    77        76210    Miguel Flores                          DeGaris Wright McCall                                                           8:20-cv-33992-MCR-GRJ
    78        107294   Christopher Andersen                   Douglas & London                                     7:20-cv-46238-MCR-GRJ




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             Case 3:19-md-02885-MCR-HTC Document 3077-1 Filed 05/06/22 Page 2 of 5
IN RE: 3M COMBAT ARMS EARPLUG PRODUCTS LIABILITY LITIGATION
EXHIBIT A




   Row         PID                             Name                                               Firm   Admin Docket Case Number   Active Docket Case Number
    79        108416   Travis Chaput                          Douglas & London                            7:20-cv-73248-MCR-GRJ
    80        108581   Daniel Collier                         Douglas & London                            7:20-cv-72910-MCR-GRJ
    81        108882   Troy Dament                            Douglas & London                                                       7:20-cv-73757-MCR-GRJ
    82        109525   Sherilyn Fidelis                       Douglas & London                            7:20-cv-79568-MCR-GRJ
    83        110716   Thomas Howard                          Douglas & London                            7:20-cv-75608-MCR-GRJ
    84        111920   Michael Martin                         Douglas & London                            7:20-cv-84124-MCR-GRJ
    85        113340   Scott Pulliam                          Douglas & London                            7:20-cv-77840-MCR-GRJ
    86        113791   Manuel Romero                          Douglas & London                            7:20-cv-80198-MCR-GRJ
    87        114497   Scott Stanley                          Douglas & London                            7:20-cv-80090-MCR-GRJ
    88        115215   Jason Wamba                            Douglas & London                            7:20-cv-81611-MCR-GRJ
    89        115672   Candy Yandell                          Douglas & London                            7:20-cv-82929-MCR-GRJ
    90        304986   Rickey Green                           Eckland & Blando LLP                                                   3:21-cv-00227-MCR-GRJ
    91        305122   Benjamin Kelly                         Eckland & Blando LLP                                                   3:21-cv-00448-MCR-GRJ
    92        335438   Scotty Mackay                          Environmental Litigation Group PC           7:21-cv-54177-MCR-GRJ
    93        335495   James Rosebery                         Environmental Litigation Group PC                                      7:21-cv-54441-MCR-GRJ
    94        335509   Nicholas Brewer                        Environmental Litigation Group PC                                      7:21-cv-54455-MCR-GRJ
    95        335832   Anthony Dodson                         Environmental Litigation Group PC                                      7:21-cv-55194-MCR-GRJ
    96        335929   Steve Hollis                           Environmental Litigation Group PC                                      7:21-cv-55377-MCR-GRJ
    97        336014   Robert Logan                           Environmental Litigation Group PC                                      7:21-cv-55538-MCR-GRJ
    98        351571   Jonathan Nelson                        Environmental Litigation Group PC                                      3:21-cv-02391-MCR-GRJ
    99        351606   Ervin Quiles                           Environmental Litigation Group PC                                      3:21-cv-02533-MCR-GRJ
    100       351619   Eric Biggs                             Environmental Litigation Group PC                                      3:21-cv-02973-MCR-GRJ
    101       351711   Adib Baerga                            Environmental Litigation Group PC                                      3:22-cv-04678-MCR-GRJ
    102       351794   Alejandro Bassim                       Environmental Litigation Group PC                                      3:21-cv-02332-MCR-GRJ
    103       356838   Michael Medellin                       Environmental Litigation Group PC                                      3:21-cv-02795-MCR-GRJ
    104       360176   Arthur Gumtau                          Environmental Litigation Group PC                                      3:22-cv-03966-MCR-GRJ
    105       234388   Cedric Mckethan                        FAY LAW GROUP, P.A                          8:20-cv-68743-MCR-GRJ
    106       76459    Tobey Flynn                            FLEMING, NOLEN & JEZ, L.L.P                 8:20-cv-14336-MCR-GRJ
    107       277177   Ruben Gardea                           FLEMING, NOLEN & JEZ, L.L.P                                            7:21-cv-02215-MCR-GRJ
    108       277192   William Gunter                         FLEMING, NOLEN & JEZ, L.L.P                                            7:21-cv-02354-MCR-GRJ
    109       277220   Jack Johnson                           FLEMING, NOLEN & JEZ, L.L.P                 7:21-cv-02257-MCR-GRJ
    110       277222   Travis Johnson                         FLEMING, NOLEN & JEZ, L.L.P                                            7:21-cv-02259-MCR-GRJ
    111       10331    Jamel Cobbs                            Goza & Honnold, LLC                         7:20-cv-52645-MCR-GRJ
    112       194575   Michael Deleza                         Goza & Honnold, LLC                         8:20-cv-40674-MCR-GRJ
    113       16440    Joseph Pergande                        Hissey, Mulderig & Friend, PLLC             8:20-cv-03802-MCR-GRJ
    114       304017   Timnesha Fowler                        Hissey, Mulderig & Friend, PLLC                                        7:21-cv-24356-MCR-GRJ
    115       304054   Marke Walker                           Hissey, Mulderig & Friend, PLLC                                        7:21-cv-24392-MCR-GRJ
    116       80508    Wesley Brown                           Holland Law Firm                            7:20-cv-84499-MCR-GRJ
    117       80604    Lewis Ekle                             Holland Law Firm                            7:20-cv-84193-MCR-GRJ
    118       80695    David Hernandez                        Holland Law Firm                            7:20-cv-84520-MCR-GRJ
    119       80709    Brandon Hubbard                        Holland Law Firm                            7:20-cv-16140-MCR-GRJ
    120       80740    Scott Kennedy                          Holland Law Firm                                                       7:20-cv-84671-MCR-GRJ
    121       80838    Kevin Olsen                            Holland Law Firm                                                       7:20-cv-84615-MCR-GRJ
    122       80857    Richard Poole                          Holland Law Firm                            7:20-cv-84670-MCR-GRJ
    123       81022    David Young                            Holland Law Firm                            7:20-cv-85387-MCR-GRJ
    124       81056    Weslee Pollard                         Holland Law Firm                            7:20-cv-85513-MCR-GRJ
    125       81099    Renee Copeland-Baric                   Holland Law Firm                            7:20-cv-85536-MCR-GRJ
    126       139891   David Closen                           Holland Law Firm                            7:20-cv-84978-MCR-GRJ
    127       170088   Shalane Harden                         Holland Law Firm                                                       7:20-cv-85128-MCR-GRJ
    128       176371   Anthony Desio                          Holland Law Firm                                                       7:20-cv-85356-MCR-GRJ
    129       176387   Cody Casey                             Holland Law Firm                            7:20-cv-85022-MCR-GRJ
    130       136994   Chad Chandler                          Jensen & Associates                                                    8:20-cv-41693-MCR-GRJ
    131       137242   Dominique Jenkins                      Jensen & Associates                                                    8:20-cv-35978-MCR-GRJ
    132       137357   Francisco Figueroa                     Jensen & Associates                                                    8:20-cv-36566-MCR-GRJ
    133       137497   James Pestell                          Jensen & Associates                         8:20-cv-37733-MCR-GRJ
    134       137603   Jeremy Geil                            Jensen & Associates                                                    8:20-cv-37999-MCR-GRJ
    135       137694   John Sanchez                           Jensen & Associates                                                    8:20-cv-39562-MCR-GRJ
    136       137993   Levi Saxe                              Jensen & Associates                         8:20-cv-42130-MCR-GRJ
    137       138360   Robert Bute                            Jensen & Associates                         8:20-cv-36686-MCR-GRJ
    138        4049    Ryan Williams                          Joel A. Nash Attorney at Law                                           7:20-cv-94625-MCR-GRJ
    139       303084   Clarence Aikens                        Kelley & Ferraro LLP                                                   7:21-cv-23474-MCR-GRJ
    140       50382    Terry Mcdonald                         Kirkendall Dwyer LLP                        7:20-cv-65284-MCR-GRJ
    141       50430    Reinaldo Gomez                         Kirkendall Dwyer LLP                        7:20-cv-65376-MCR-GRJ
    142       50478    Mark Sakurada                          Kirkendall Dwyer LLP                        7:20-cv-65039-MCR-GRJ
    143       51091    Christopher Panarello                  Kirkendall Dwyer LLP                                                   7:20-cv-66727-MCR-GRJ
    144       230769   Eric Barrs                             Kirkendall Dwyer LLP                        8:20-cv-68384-MCR-GRJ
    145       230770   Eric Whitmer                           Kirkendall Dwyer LLP                        8:20-cv-68388-MCR-GRJ
    146       230982   Thomas Benefield                       Kirkendall Dwyer LLP                        8:20-cv-68055-MCR-GRJ
    147       237304   Juan Ramos                             Kirkendall Dwyer LLP                        8:20-cv-82673-MCR-GRJ
    148       237394   Travis Waddell                         Kirkendall Dwyer LLP                        8:20-cv-82375-MCR-GRJ
    149       240015   Kevona Jenkins                         Kirkendall Dwyer LLP                        8:20-cv-76261-MCR-GRJ
    150       240049   Michael Merritt                        Kirkendall Dwyer LLP                        8:20-cv-76330-MCR-GRJ
    151       240050   Michael Peasgood                       Kirkendall Dwyer LLP                                                   8:20-cv-76333-MCR-GRJ
    152       242077   Jason Cosby                            Kirkendall Dwyer LLP                        8:20-cv-90122-MCR-GRJ
    153       246016   Hakim Stanback                         Kirkendall Dwyer LLP                        8:20-cv-93534-MCR-GRJ
    154       246053   Jonathon Tygret                        Kirkendall Dwyer LLP                        8:20-cv-93571-MCR-GRJ
    155       246068   Kim Gov                                Kirkendall Dwyer LLP                        8:20-cv-93586-MCR-GRJ
    156       250677   Karl Wyant                             Kirkendall Dwyer LLP                        8:20-cv-95375-MCR-GRJ




                                                                                                    2
             Case 3:19-md-02885-MCR-HTC Document 3077-1 Filed 05/06/22 Page 3 of 5
IN RE: 3M COMBAT ARMS EARPLUG PRODUCTS LIABILITY LITIGATION
EXHIBIT A




   Row         PID                             Name                                             Firm           Admin Docket Case Number   Active Docket Case Number
    157       251840   Darryl Alexius                         Kirkendall Dwyer LLP                              8:20-cv-97350-MCR-GRJ
    158       303955   Ryan Dewes                             Kirkendall Dwyer LLP                              7:21-cv-25271-MCR-GRJ
    159       304685   Emmanuel Cox                           Kirkendall Dwyer LLP                              7:21-cv-25520-MCR-GRJ
    160       307053   Matthew Ryan                           Kirkendall Dwyer LLP                              7:21-cv-24109-MCR-GRJ
    161       307088   Brian Richardson                       Kirkendall Dwyer LLP                              7:21-cv-24131-MCR-GRJ
    162       321182   Larry Moore                            Kirkendall Dwyer LLP                              7:21-cv-35858-MCR-GRJ
    163       321250   Shaun Alestra                          Kirkendall Dwyer LLP                              7:21-cv-37410-MCR-GRJ
    164       321280   Peter Berrios                          Kirkendall Dwyer LLP                              7:21-cv-37440-MCR-GRJ
    165       321389   Carlitos Grant                         Kirkendall Dwyer LLP                              7:21-cv-37547-MCR-GRJ
    166       321392   Travis Greenworld                      Kirkendall Dwyer LLP                              7:21-cv-37550-MCR-GRJ
    167       321488   Ishmael Martinez                       Kirkendall Dwyer LLP                              7:21-cv-38112-MCR-GRJ
    168       164686   Russell Nicholas                       Kirtland & Packard LLP                            7:20-cv-88660-MCR-GRJ
    169       316386   Robert Piker                           Law Office of Steven Gacovino, PLLC               7:21-cv-52497-MCR-GRJ
    170       258991   Ethan Stall                            Law Offices of Charles H. Johnson, P.A.           9:20-cv-03642-MCR-GRJ
    171       11131    Jacob Scism                            Levin Papantonio Rafferty                         7:20-cv-00492-MCR-GRJ
    172       158864   Robb Mitchell                          Levin Papantonio Rafferty                                                    7:20-cv-35391-MCR-GRJ
    173       183136   Nathan Witcher                         Levin Papantonio Rafferty                                                    7:20-cv-85014-MCR-GRJ
    174       139354   Sean Adkins                            Matthews & Associates                             8:20-cv-14927-MCR-GRJ
    175       173680   Carlos Rivera Nazario                  Matthews & Associates                             8:20-cv-15633-MCR-GRJ
    176       199606   Jesus Sosa                             Matthews & Associates                             8:20-cv-64437-MCR-GRJ
    177       199720   Timothy Williams                       Matthews & Associates                             8:20-cv-56654-MCR-GRJ
    178       280857   Jered Judson                           Matthews & Associates                                                        7:21-cv-03910-MCR-GRJ
    179       280865   Jay Mcwilliams                         Matthews & Associates                                                        7:21-cv-03926-MCR-GRJ
    180       335118   Christopher Ike                        Matthews & Associates                             7:21-cv-55360-MCR-GRJ
    181       335130   Michael Singleton                      Matthews & Associates                                                        7:21-cv-55382-MCR-GRJ
    182       171592   Jb Russell                             McCormick Law Firm                                                           7:20-cv-44317-MCR-GRJ
    183       49317    Fowood Gebhart                         McCune Wright Arevalo                             7:20-cv-52513-MCR-GRJ
    184       276257   Clark Mervin                           McSweeney/Langevin LLC                            7:21-cv-00605-MCR-GRJ
    185       216519   James Dougherty                        Messa & Associates                                8:20-cv-64533-MCR-GRJ
    186       240700   Michael Graves                         Messa & Associates                                8:20-cv-91068-MCR-GRJ
    187       266315   Daniel Pena                            MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN, PLLC    7:21-cv-19982-MCR-GRJ
    188       279897   Colin Callahan                         MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN, PLLC    7:21-cv-18431-MCR-GRJ
    189       207279   Matthew Rose                           Milstein Jackson Fairchild & Wade, LLP                                       8:20-cv-56758-MCR-GRJ
    190       268079   Kyle Brown                             Morgan & Morgan                                   9:20-cv-16851-MCR-GRJ
    191       326824   Wymon Gleaton                          Morgan & Morgan                                   7:21-cv-52052-MCR-GRJ
    192       327027   James Presnell                         Morgan & Morgan                                   7:21-cv-52448-MCR-GRJ
    193       333224   Willie Thompson                        Morgan & Morgan                                                              3:22-cv-04769-MCR-GRJ
    194       344557   Don Dixon                              Morgan & Morgan                                   7:21-cv-63624-MCR-GRJ
    195       129426   Jeffrey Smith                          Morris Bart, LLC                                  8:20-cv-35022-MCR-GRJ
    196       129492   Michael Allgood                        Morris Bart, LLC                                  8:20-cv-35343-MCR-GRJ
    197       329180   Sheameeka Hughes                       Morris Bart, LLC                                  7:21-cv-47937-MCR-GRJ
    198       51979    Carl Mccain                            Mostyn Law                                        8:20-cv-28923-MCR-GRJ
    199       52180    Aaron Gardner                          Mostyn Law                                        7:20-cv-87009-MCR-GRJ
    200       168038   Deidre Holder                          Mostyn Law                                        8:20-cv-00198-MCR-GRJ
    201       181630   Nathaniel Leonard                      Mostyn Law                                        8:20-cv-03539-MCR-GRJ
    202       181638   James Lorenz                           Mostyn Law                                                                   8:20-cv-03568-MCR-GRJ
    203       181784   Vincent Trexler                        Mostyn Law                                        8:20-cv-04611-MCR-GRJ
    204       200151   Kellen Brown                           Mostyn Law                                        8:20-cv-42870-MCR-GRJ
    205       200285   Brandon Marvel                         Mostyn Law                                        8:20-cv-43230-MCR-GRJ
    206       254837   Thomas Burger                          Mostyn Law                                        8:20-cv-97601-MCR-GRJ
    207       254841   Michael Jimenez                        Mostyn Law                                        8:20-cv-97605-MCR-GRJ
    208       361025   Joseph Rader                           Nabors Law Firm                                                              3:22-cv-05078-MCR-GRJ
    209       30318    Helso Laraortiz                        OnderLaw, LLC                                     8:20-cv-33246-MCR-GRJ
    210       87617    Calvin Nguyen                          OnderLaw, LLC                                                                8:20-cv-34300-MCR-GRJ
    211       223097   Eric Williams                          OnderLaw, LLC                                     8:20-cv-66673-MCR-GRJ
    212       52485    Randy Joseph                           Parafinczuk Wolf, P.A.                            7:20-cv-05227-MCR-GRJ
    213       52488    Larry Eddinger                         Parafinczuk Wolf, P.A.                            7:20-cv-05230-MCR-GRJ
    214       182436   John Carroll                           Parafinczuk Wolf, P.A.                                                       7:20-cv-90078-MCR-GRJ
    215       191310   Gregory Busby                          Parafinczuk Wolf, P.A.                            8:20-cv-38782-MCR-GRJ
    216       191368   Timothy Gifford                        Parafinczuk Wolf, P.A.                            8:20-cv-39045-MCR-GRJ
    217       191419   Shawn Krummel                          Parafinczuk Wolf, P.A.                            8:20-cv-38234-MCR-GRJ
    218       203289   Steven Zwart                           Parafinczuk Wolf, P.A.                            8:20-cv-50110-MCR-GRJ
    219       214620   Jacqueline Berry                       Parafinczuk Wolf, P.A.                                                       8:20-cv-66765-MCR-GRJ
    220       216566   Brandon Martin                         Parafinczuk Wolf, P.A.                            8:20-cv-67117-MCR-GRJ
    221       216569   Franklin Morley                        Parafinczuk Wolf, P.A.                            8:20-cv-67126-MCR-GRJ
    222       247681   David Hamilton                         Parafinczuk Wolf, P.A.                            9:20-cv-10723-MCR-GRJ
    223       247688   Michael Kramer                         Parafinczuk Wolf, P.A.                            9:20-cv-02779-MCR-GRJ
    224       288611   Christopher Hardesty                   Parafinczuk Wolf, P.A.                            7:21-cv-10642-MCR-GRJ
    225       308134   Karina Taylor                          Parafinczuk Wolf, P.A.                            7:21-cv-27316-MCR-GRJ
    226       308182   Ruby Pichardo-Batista                  Parafinczuk Wolf, P.A.                                                       7:21-cv-27418-MCR-GRJ
    227       324863   Ivan Arbelo                            Parafinczuk Wolf, P.A.                            7:21-cv-44541-MCR-GRJ
    228       104599   Keith Grant                            Parker Waichman LLP                               7:20-cv-72396-MCR-GRJ
    229       104618   Juan Griffin                           Parker Waichman LLP                                                          7:20-cv-72480-MCR-GRJ
    230       104779   Ricky Hinote                           Parker Waichman LLP                                                          7:20-cv-75001-MCR-GRJ
    231       104781   Frank Hitchcock                        Parker Waichman LLP                               7:20-cv-75012-MCR-GRJ
    232       105605   Kenneth Phariss                        Parker Waichman LLP                               7:20-cv-71107-MCR-GRJ
    233       105793   Jorge Rodriguez                        Parker Waichman LLP                               7:20-cv-71201-MCR-GRJ
    234       105864   Aaron Salinas                          Parker Waichman LLP                               7:20-cv-71447-MCR-GRJ




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             Case 3:19-md-02885-MCR-HTC Document 3077-1 Filed 05/06/22 Page 4 of 5
IN RE: 3M COMBAT ARMS EARPLUG PRODUCTS LIABILITY LITIGATION
EXHIBIT A




   Row         PID                           Name                                               Firm       Admin Docket Case Number   Active Docket Case Number
    235       105883   Ryan Sargent                           Parker Waichman LLP                                                      7:20-cv-71508-MCR-GRJ
    236       106131   Kelley Tanner                          Parker Waichman LLP                           7:20-cv-72293-MCR-GRJ
    237       106141   Julia Taylor                           Parker Waichman LLP                           7:20-cv-72338-MCR-GRJ
    238       174318   William Holman                         Rappaport, Glass, Levine & Zullo LLP                                     8:20-cv-09871-MCR-GRJ
    239       176268   Richard Bond                           Rappaport, Glass, Levine & Zullo LLP                                     8:20-cv-15752-MCR-GRJ
    240       93299    Cody Smith                             Robinson Calcagnie, Inc.                      7:20-cv-50953-MCR-GRJ
    241       127496   Charles Sweigert                       Robinson Calcagnie, Inc.                      7:20-cv-51622-MCR-GRJ
    242       139846   Adam Adkins                            Robinson Calcagnie, Inc.                                                 3:19-cv-02078-MCR-GRJ
    243       334651   Jermey O'Brien                         Rogers, Patrick, Westbrook & Brickman, LLC    7:21-cv-48687-MCR-GRJ
    244       185221   Kai Zubke                              Schlesinger Law Offices, P.A.                                            3:20-cv-00116-MCR-GRJ
    245       249298   Johnathon Jobson                       Shunnarah Vail Trial Attorneys, P.C.          8:20-cv-93650-MCR-GRJ
    246       334269   Joshua Graham                          Shunnarah Vail Trial Attorneys, P.C.          7:21-cv-53209-MCR-GRJ
    247       334467   James Smith                            Shunnarah Vail Trial Attorneys, P.C.                                     7:21-cv-54810-MCR-GRJ
    248       346254   Jarrett Hyatt                          Shunnarah Vail Trial Attorneys, P.C.          7:21-cv-63372-MCR-GRJ
    249       178213   Joseph Barry                           Singleton Schreiber, LLP                                                 3:20-cv-04744-MCR-GRJ
    250       178312   Allyn Bruninga                         Singleton Schreiber, LLP                                                 3:20-cv-04069-MCR-GRJ
    251       178423   Cody Cser                              Singleton Schreiber, LLP                                                 3:20-cv-04393-MCR-GRJ
    252       178445   Johnathan Davis                        Singleton Schreiber, LLP                                                 3:20-cv-04438-MCR-GRJ
    253       178692   Vernon Hayes                           Singleton Schreiber, LLP                                                 3:20-cv-04273-MCR-GRJ
    254       178754   Sean Isaak-Hougardy                    Singleton Schreiber, LLP                                                 3:20-cv-04555-MCR-GRJ
    255       179266   Brett Rooney                           Singleton Schreiber, LLP                                                 3:20-cv-03726-MCR-GRJ
    256       179307   Luke Sanders                           Singleton Schreiber, LLP                                                 3:20-cv-04850-MCR-GRJ
    257       179382   Mark Smith                             Singleton Schreiber, LLP                                                 3:20-cv-04920-MCR-GRJ
    258       179449   Alan Szwec                             Singleton Schreiber, LLP                                                 3:20-cv-05089-MCR-GRJ
    259       179470   Wyatt Thomas                           Singleton Schreiber, LLP                                                 3:20-cv-03917-MCR-GRJ
    260       179501   Devyn Tucker                           Singleton Schreiber, LLP                                                 3:20-cv-04188-MCR-GRJ
    261       179612   Austin Witt                            Singleton Schreiber, LLP                                                 3:20-cv-05196-MCR-GRJ
    262       352489   Juan Zarraga                           Singleton Schreiber, LLP                                                 3:21-cv-01767-MCR-GRJ
    263       355955   Armando Mata                           Singleton Schreiber, LLP                                                 3:22-cv-00061-MCR-GRJ
    264       83799    Cheidler Jean-Louis                    Slocumb Law                                                              7:20-cv-17688-MCR-GRJ
    265       83811    Michael Olsen                          Slocumb Law                                                              7:20-cv-17709-MCR-GRJ
    266       139199   Richard Spencer                        Slocumb Law                                   7:20-cv-30391-MCR-GRJ      3:19-cv-02251-MCR-GRJ
    267       267302   Jonathan Logsdon                       The Carlson Law Firm                                                     9:20-cv-16139-MCR-GRJ
    268       175139   Erskine Shaw                           The DiLorenzo Law Firm, LLC                   8:20-cv-19631-MCR-GRJ
    269       192026   Joshua Robles                          The DiLorenzo Law Firm, LLC                   8:20-cv-54686-MCR-GRJ
    270       192030   Jonathan Smith                         The DiLorenzo Law Firm, LLC                   8:20-cv-54695-MCR-GRJ
    271       213273   Azaria Cooke                           The DiLorenzo Law Firm, LLC                   8:20-cv-60182-MCR-GRJ
    272       217546   Terrance Owens                         The DiLorenzo Law Firm, LLC                   8:20-cv-67540-MCR-GRJ
    273       244745   Shonderrick Baskin                     The DiLorenzo Law Firm, LLC                   8:20-cv-92575-MCR-GRJ
    274       255178   Bradley Moore                          The DiLorenzo Law Firm, LLC                   9:20-cv-00703-MCR-GRJ
    275       293679   Jeremy Durr                            The DiLorenzo Law Firm, LLC                                              7:21-cv-13106-MCR-GRJ
    276       302642   Jeremy Spence                          The DiLorenzo Law Firm, LLC                   7:21-cv-21411-MCR-GRJ
    277       333784   Casey Herron                           The DiLorenzo Law Firm, LLC                                              7:21-cv-52929-MCR-GRJ
    278       344923   Kasey Willis                           The DiLorenzo Law Firm, LLC                   7:21-cv-63568-MCR-GRJ
    279       344925   Luke Mcdonell                          The DiLorenzo Law Firm, LLC                   7:21-cv-63572-MCR-GRJ
    280       354615   Nina Copeland                          The DiLorenzo Law Firm, LLC                                              3:21-cv-03937-MCR-GRJ
    281       318666   Ashley Ernst                           The Gallagher Law Firm PLLC                                              7:21-cv-34930-MCR-GRJ
    282       322230   Kevin Barfield                         The Kuykendall Group LLc                                                 7:21-cv-37832-MCR-GRJ
    283       356106   Keithrick Hamilton                     The Kuykendall Group LLc                                                 3:22-cv-00474-MCR-GRJ
    284       356165   Tejon Wilbourn                         The Kuykendall Group LLc                                                 3:22-cv-00807-MCR-GRJ
    285       356201   Silvie Gunderson                       The Kuykendall Group LLc                                                 3:22-cv-00984-MCR-GRJ
    286       48690    Michael Sabala                         The Moody Law Firm                                                       7:20-cv-44573-MCR-GRJ
    287       96687    Jason Hansford                         The Murray Law Firm                                                      8:20-cv-36037-MCR-GRJ
    288       96767    Geoffry Moseley                        The Murray Law Firm                                                      7:20-cv-38349-MCR-GRJ
    289       148591   Anthony Stuart                         The Murray Law Firm                           8:20-cv-43352-MCR-GRJ
    290       163238   Philip Furtick                         The Murray Law Firm                                                      8:20-cv-49459-MCR-GRJ
    291       185352   Jesse Sohn                             The Murray Law Firm                                                      8:20-cv-47020-MCR-GRJ
    292       191245   Devin Rasmusan                         The Murray Law Firm                           8:20-cv-32055-MCR-GRJ
    293       247570   Jean Adaro                             The Murray Law Firm                           8:20-cv-92903-MCR-GRJ
    294       251807   Nathan Williamson                      The Murray Law Firm                           9:20-cv-09195-MCR-GRJ
    295       347456   Scott Richardson                       The Russo Firm                                7:21-cv-67455-MCR-GRJ
    296       347457   Daizja Leach                           The Russo Firm                                7:21-cv-67456-MCR-GRJ
    297       347542   Louis Tarquinio                        The Russo Firm                                                           7:21-cv-67541-MCR-GRJ
    298       347631   David Switzer                          The Russo Firm                                7:21-cv-67629-MCR-GRJ
    299       347693   Brian Worley                           The Russo Firm                                7:21-cv-67691-MCR-GRJ
    300       347694   Santos Gonzalez                        The Russo Firm                                7:21-cv-67692-MCR-GRJ
    301       347843   Jason Deluca                           The Russo Firm                                7:21-cv-67841-MCR-GRJ
    302       348066   David Anstett                          The Russo Firm                                7:21-cv-68063-MCR-GRJ
    303       348226   Hunter Mckay                           The Russo Firm                                7:21-cv-66075-MCR-GRJ
    304       348331   Michelle Rotchadl                      The Russo Firm                                7:21-cv-66378-MCR-GRJ
    305       348361   Branham Littleton                      The Russo Firm                                7:21-cv-66425-MCR-GRJ
    306       348424   Mandel Hooks                           The Russo Firm                                7:21-cv-66488-MCR-GRJ
    307       348481   Andrew Salazar                         The Russo Firm                                7:21-cv-66547-MCR-GRJ
    308       348557   Conrado Morales                        The Russo Firm                                7:21-cv-66373-MCR-GRJ
    309       348647   Wesley Snell                           The Russo Firm                                7:21-cv-66805-MCR-GRJ
    310       348651   Joe Munoz                              The Russo Firm                                7:21-cv-66813-MCR-GRJ
    311       348703   Allen Jordan                           The Russo Firm                                7:21-cv-66911-MCR-GRJ
    312       176902   Sherri Crandall                        TorHoerman Law LLC                                                       8:20-cv-41115-MCR-GRJ




                                                                                                     4
             Case 3:19-md-02885-MCR-HTC Document 3077-1 Filed 05/06/22 Page 5 of 5
IN RE: 3M COMBAT ARMS EARPLUG PRODUCTS LIABILITY LITIGATION
EXHIBIT A




   Row         PID                       Name                                            Firm   Admin Docket Case Number   Active Docket Case Number
    313       354339   Joe Santos                             TorHoerman Law LLC                                            3:21-cv-03070-MCR-GRJ
    314       144306   Craig Cloud                            Wells & Associates, PLLC           8:20-cv-15075-MCR-GRJ




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